           Case 5:16-cv-00274-DPM Document 149 Filed 08/09/18 Page 1 of 8



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                PINE BLUFF DIVISION

WEST WIND AIR, LLC, d/b/a CHRISAIR                                                  PLAINTIFF

vs.                             CASE NO. 5:16-CV-0274 DPM

THRUSH AIRCRAFT, INC.                                                             DEFENDANT

THRUSH AIRCRAFT, INC.                                             THIRD-PARTY PLAINTIFF

vs.

PRATT & WHITNEY CANADA CORP.; and                             THIRD-PARTY DEFENDANTS
PLANESMART AIRCRAFT
SERVICES, LLC

              THRUSH’S BRIEF IN OPPOSITION TO PRATT & WHITNEY’S
                       MOTION FOR SUMMARY JUDGMENT

       Defendant/Third-Party Plaintiff Thrush Aircraft, Inc. (“Thrush”), by its attorneys, LAW

OFFICES OF FRED C. BEGY III, P.C. and CROSS, GUNTER, WITHERSPOON & GALCHUS, P.C., and

for its Brief in Opposition to Third-Party Defendant Pratt & Whitney Canada Corp.’s (PWC)

Motion for Summary Judgment, states as follows:

                               I.     PRELIMINARY STATEMENT

       Thrush and PWC are in total agreement that Plaintiff’s Complaint must be summarily

dismissed, and both parties have aptly described the significant evidentiary shortcomings in

Plaintiff’s case-in-chief—particularly, that Plaintiff’s purported expert, Arthur Lee Coffman,

made dooming admissions during his deposition that foreclose all of Plaintiff’s claims.1 In this



       1
          Mr. Coffman admitted that there was no defect in the design or manufacturing of the
subject Aircraft, which—as he testified—was fit for its ordinary and particular purposes, and that
he had no knowledge of any express warranty that was allegedly breached in this action. Exhibit
1, Arthur Lee Coffman Deposition, at P. 110, 121, 160, 165. Otherwise, Mr. Coffman’s
testimony is subject to a pending Daubert Motion (ECF No. 120), which defeats and forecloses
Plaintiff’s negligent-failure-to-warn claim. In an apparent recognition that Mr. Coffman’s
                                                1
237159
         Case 5:16-cv-00274-DPM Document 149 Filed 08/09/18 Page 2 of 8



respect, Thrush and PWC both agree that Thrush’s pending Motion for Summary Judgment

should be granted. If the Court properly grants Thrush’s pending Motion, then consideration of

PWC’s Motion for Summary Judgment is unnecessary as summary dismissal of Plaintiff’s

Complaint will moot Thrush’s Third-Party Complaint.

         By the same token, if the Court finds that there is a question of fact sufficient to

withstand summary judgment on any of Plaintiff’s claims, then PWC’s Motion should be denied

as well because Thrush’s Third-Party Complaint (ECF No. 52) and Renewed Motion for a

Declaration of Rights for Allocation of Fault (ECF No. 126) establish that, although Plaintiff’s

claims lack merit, if Thrush is found liable to Plaintiff, then Thrush is entitled to have the fault of

PWC determined and apportioned based on PWC’s alleged and contingent fault in the design and

manufacturing of the Aircraft’s engine and in drafting its maintenance manual.

       Ultimately, because PWC and Thrush share the same fate relative to their pending

Motions for Summary Judgment, the Court should hold a decision on PWC’s Motion in

abeyance. Similarly, because PWC rightfully attacks the factual predicate underlying Plaintiff’s

Complaint, Plaintiff should file its own response. If Plaintiff fails to file a response to the instant

Motion, then the Court should summarily grant both Thrush and PWC’s Motions. Otherwise, if

the Court is inclined to entertain PWC’s Motion at this juncture, summary judgment should be

denied because a material issue of fact persists as to PWC’s proportionate fault, the

determination of which would entitle Thrush to have the jury apportion any fault among the

responsible parties.




testimony doomed Plaintiff’s theory of the case, Plaintiff’s counsel has now advised Thrush that
Plaintiff “simply do[es] not know if Mr. Coffman will be appearing live or not [at trial.]” Exhibit
2, Correspondence from N. Awbrey Dated August 6, 2018.
                                                  2
237159
         Case 5:16-cv-00274-DPM Document 149 Filed 08/09/18 Page 3 of 8



                                II.    FACTUAL BACKGROUND

       While Thrush discusses the facts pertinent to this Response, for the purposes of avoiding

unnecessary duplication and redundancy, Thrush refers the Court to its recitation of the facts of

this matter identified in its Brief in Support of Summary Judgment. ECF No. 130, at P. 7–13. To

briefly summarize, Plaintiff’s Complaint involves a 2012 Thrush S2R-T34 aircraft bearing Serial

No. T34-402, registered with the Federal Aviation Administration (FAA) as N3000H (the

“Aircraft”). PWC manufactured the engine (Serial No. PC-EPH0851), and former Third-Party

Defendant Woodward, Inc. manufactured the engine’s propeller governor beta valve (Serial No.

18090931), which PWC then incorporated in the engine that it sold to Thrush. See Exhibit 3,

Expert Report of James Peleck; see also Exhibit 4, PWC Report; ECF No. 133, at P. 4.

       On September 3, 2013, the pilot operating the Aircraft allegedly experienced an inability

to modulate thrust and landed short of his intended runway (the “Incident”). Ex. 3 (Peleck

Report), at P. 2. Plaintiff contends that the Incident was caused by severe rust in the Woodward-

manufactured beta valve of PWC’s engine that Thrush installed in the Aircraft, ECF No. 1, at ¶

9, and that Thrush should have included an instruction in its maintenance manual, which

incorporates PWC’s engine manual in relevant part, to check the beta valve during annual

inspections. Id.

       Following the Incident, on September 25, 2013, Plaintiff’s only retained expert, Mr.

Coffman, inspected the engine that had been removed from the Aircraft and observed signs of

corrosion on all of the exposed metal parts on the front of the engine. Ex. 1, Coffman Depo. P.

156. Thereafter, Mr. Coffman made arrangements to remove and ship the propeller governor beta

valve of the Aircraft’s engine to PWC. Id. at P. 48. PWC’s Chemical Laboratory observed traces

of chromium and chlorine in the beta valve (Ex. 4, at ¶ 2.6) and determined that “the extent of



                                               3
237159
         Case 5:16-cv-00274-DPM Document 149 Filed 08/09/18 Page 4 of 8



the corrosion at 3 different locations after only 612 hours of operation suggests that the

components were exposed to high moisture content.” Id. at ¶ 3.3. Importantly, no anomalies were

noted to the beta valve components that would make the area prone to water contamination. Id.

Nevertheless, PWC determined that the beta valve components were exposed to a high moisture

level over a long period of time. Id. at ¶ 4.1.

        While Thrush was the supplier of the completed Aircraft, Plaintiff’s allegations relate to

the component parts designed, manufactured, and supplied by others, including PWC, which

makes its inclusion for apportionment of fault essential. Thrush does not concede Plaintiff’s

allegations—and, in fact, vehemently denies that any of Plaintiff’s causes of action have any

factual support in the record—but in order to bring all potentially responsible parties before the

Court for consideration and apportionment of fault, Thrush necessarily filed its Third-Party

Complaint against PWC on August 17, 2017 (ECF No. 52), after first obtaining leave from the

Court. ECF No. 51.

                                         III.     ARGUMENT

A.      All Evidence of Record Must be Viewed in the Light Most Favorable to Thrush.

        Summary judgment is appropriate only where, after the moving party “identif[ies] each

claim or defense . . . on which summary judgment is sought[,]” there is no genuine issue of

material fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.

56(a). The record is viewed in the light most favorable to the non-moving party. Kiel v. Select

Artificials, Inc., 142 F.3d 1077 (8th Cir. 1998). The Court's task at the summary judgment stage

is not to weigh evidence and determine the truth of the matter, but to determine whether there is

a genuine issue for trial. Kneibert v. Thomson Newspapers Michigan, Inc., 129 F.3d 444 (8th Cir.

1997). Summary judgment should be granted only when the moving party has established the



                                                   4
237159
         Case 5:16-cv-00274-DPM Document 149 Filed 08/09/18 Page 5 of 8



right to judgment with such clarity as to leave no room for controversy. Woods v. Rhodes, 994

F.2d 494 (8th Cir. 1993).

B.     If Plaintiff is Successful in its Claims against Thrush, PWC’s Fault Is Essential for
       Apportionment Purposes.

       Thrush’s pending Renewed Motion for a Declaration of Rights for Allocation of Fault

and Brief in Support (ECF Nos. 126 & 127) discuss in exquisite detail the reasons why Thrush is

entitled to seek apportionment of PWC’s fault. To avoid unnecessary duplication and

redundancy, Thrush incorporates its arguments set forth in ECF No. 126 & 127 herein by

reference.

       Accordingly, and as further developed by the arguments set forth in its Renewed Motion,

while Thrush denies any and all liability in this matter, if this case proceeds to trial and if the jury

returns a verdict in Plaintiff’s favor, Thrush is entitled to have PWC’s fault considered for

apportionment purposes. As relevant to this Response, it is undisputed that the beta valve was

not manufactured by PWC. As PWC admits, however, PWC—not Thrush—incorporated the

Woodward beta valve into the Aircraft’s engine, which Plaintiff alleged (but its expert

contradicted) was defectively designed and manufactured. See Ex. 1, Coffman Depo. P. 110,

121, 160, 165. Plaintiff further alleged in its Complaint that Thrush had a duty to instruct

operators of its Aircraft as to the purported need to inspect the beta valve to ensure that it was

properly lubricated. See ECF No. 1, at ¶ 19. In this respect, PWC—as the engine manufacturer—

was responsible for providing instructions relative to its product, and PWC has produced no

contra evidence or legal authority to deny this position.

       Instead, to support its position on summary judgment, PWC primarily relies on Mr.

Coffman’s testimony that PWC had no obligation to provide any additional maintenance

information regarding the Aircraft’s engine. See ECF No. 133, at P. 8 (citing Coffman Depo. P.

                                                   5
237159
         Case 5:16-cv-00274-DPM Document 149 Filed 08/09/18 Page 6 of 8



184)). Reliance on Mr. Coffman’s opinion testimony is unavailing for summary judgment

purposes, however, because—among numerous other reasons described more fully in Thrush’s

Daubert Motion and Brief in Support (ECF Nos. 120 & 121)—his opinions as to whether PWC

had a duty to provide maintenance instructions regarding its engine are merely a legal

conclusions offered as expert opinions, albeit without expert qualification. Regardless, “the

question of what duty, if any, the defendant owed a plaintiff alleging negligence is

a question of law[,]” Perkins v. Kiamichi Ry. Co., LLC, 2017 WL 6452777, at *4 (W.D. Ark.

Dec. 18, 2017), and even legitimate expert opinions that attempt to proffer legal conclusions

must be excluded. See Rollins v. Smith, 106 F. App'x 513, 514 (8th Cir. 2004) (citations omitted).

       Notwithstanding Mr. Coffman’s testimony that PWC was not responsible to provide

maintenance information relevant to the engine (Ex. 1, Coffman Depo. P. 184) that it designed,

manufactured, and sold to Thrush, portions of Mr. Coffman’s deposition cannot be read in

isolation, as he also testified that “part of the [Aircraft’s] maintenance [instructions] [are] . . . in

the Thrush manual and [that] there[] [are] going to be some maintenance [instructions] in the

Pratt manual[.]” Id. at P. 175. Moreover, Mr. Coffman admitted that he did not “use the [Thrush]

manual to . . . look stuff up.” Id. at P. 76. Instead, he used “the Pratt manual . . . [because he is]

more familiar with [it]” in forming his opinions. Id. at P. 76. Therefore, any criticism that Mr.

Coffman may have offered about Thrush is really transferable to PWC. Therefore, PWC’s

arguments to the contrary are not supported by any record evidence. In fact, and as Mr. Coffman

testified, Thrush’s Maintenance Manual specifically incorporates and references PWC’s

Maintenance Manual. See id. at P. 76; see also Exhibit 5, Excerpts of Thrush’s Maintenance

Manual; Exhibit 6, Excerpts of PWC’s Maintenance Manual.




                                                   6
237159
         Case 5:16-cv-00274-DPM Document 149 Filed 08/09/18 Page 7 of 8



       Accordingly, PWC—like Thrush—has established that Plaintiff’s claims have no merit.

However, in the event Plaintiff’s claims are able to reach the jury, then questions do exist as to

PWC’s culpability. Because of that, when the record evidence is viewed in the light most

favorable to Thrush, PWC has not and cannot presently identify a basis upon which summary

judgment may be granted on Thrush’s contingent claims for allocated fault, and ultimately, on its

entitlement to seek apportionment of fault, if any.

                                       IV.     CONCLUSION

       Thrush’s Third-Party Complaint, and PWC’s potential liability is contingent on Plaintiff

prevailing on its claims against Thrush. For that reason, Plaintiff—not Thrush—should respond

to the substance of PWC’s Motion relevant to the underlying claims in Plaintiff’s Complaint.

Otherwise, PWC and Thrush are in unanimous agreement that Plaintiff’s claims lack any merit

or factual support, and that its Complaint must be summarily dismissed. For that reason, and

particularly if Plaintiff fails to submit a response to PWC’s Motion, the Court should grant

Thrush’s pending Motion for Summary Judgment, which would obviate the need to undertake

any analysis of PWC’s competing Motion as it would be rendered moot. If the Court denies

Thrush’s Motion, however, then the Court—for the same reasons—should deny PWC’s Motion.

Alternatively, due to the unique procedural issues attendant with third-party practice, the Court

should hold its decision on PWC’s Motion in abeyance until the Court first has an opportunity to

rule on Thrush’s pending Motion. If the Court does consider PWC’s Motion at this stage,

however, the record makes clear that a genuine issue of material fact exists as to whether Thrush

is entitled to allocation in connection with Plaintiff’s allegations that relate to PWC’s product.




                                                  7
237159
         Case 5:16-cv-00274-DPM Document 149 Filed 08/09/18 Page 8 of 8



                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 9, 2018, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which shall send notification of such filing to the following
attorneys of record:

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                                                8
237159
